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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

IN RE:                                  )
HDR FARMS INCORPORATED,                 )                   Chapter 11
                                        )
      Debtor                            )                   CASE NO. 20-50888-GRS
_______________________________________ )
                                        )
HDR FARMS INCORPORATED                  )                   A.P.No. 21-05166-grs
LIQUIDATING TRUST,                      )
                                        )
      Plaintiff                         )
                                        )
v.                                      )
                                        )
APPLIED BOTANICS LLC f/k/a              )
XSI USA, LLC; COZEN O’CONNOR;           )
KAWEL LAUBACH; DEAN JOHNSON             )
ANNETTE COX; CHARLES THOMAS             )
“TODD” MERCER; and APPLIED              )
BIOLOGY LLC                             )
                                        )
      Defendants                        )
_______________________________________ )


                                       AGREED ORDER

       This matter came before the Court on the agreement by the parties to extend the deadline

for exchanging and filing trial exhibits from July 27, 2022 to August 1, 2022 and the Court having

reviewed the agreement and determined that the extension is acceptable, the Court Orders that the

deadline for exchange and filing trial exhibits shall be extended to August 1, 2022.

HAVE SEEN AND AGREED:

/s/ Barry D. Hunter
Barry D. Hunter, Esq.
Adam R. Kegley, Esq.
Frost Brown Todd LLC
250 West Main Street, Suite 2800
Lexington, Kentucky 40507
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